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12 Tanya Hamm
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Tanya Hamm,                                     Case No.: 2:17-cv-03821-JJT
17
                    Plaintiff,
18
19        vs.                                      NOTICE OF SETTLEMENT AS TO
                                                   DEFENDANT EXPERIAN
20 Experian Information Solutions, Inc., et al.,   INFORMATION SOLUTIONS, INC.
21                                                 ONLY
                  Defendants.
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25
           NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Experian
26
27         Information Solutions, Inc., in the above-captioned case have reached a
28
                                               1
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1     settlement. The parties anticipate filing a Stipulation of Dismissal with
2
      Prejudice as to Defendant Experian Information Solutions, Inc. ONLY,
3
4     pursuant to Fed. R. Civ. P. 41(a) within 60 days.
5     RESPECTFULLY SUBMITTED this 14th day of November 2018.
6
                                          KENT LAW OFFICES
7
8
                                           By: /s/ Trinette G. Kent
9
                                           Trinette G. Kent
10                                         Attorneys for Plaintiff,
11                                         Tanya Hamm

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